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                    EXHIBIT N
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                                    United States District Court
                                   Southern District Of New York

--------------------------------------------------X




                                                ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                             15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X


                       DEFENDANT GHISLAINE MAXWELL’S
               THIRD SUPPLEMENTAL F.R.C.P. 26(A)(1)(A) DISCLOSURES

        Pursuant to F.R.C.P. 26(a)(1)(A), Defendant Ghislaine Maxwell makes the following

disclosures:

        I.      IDENTITIES OF INDIVIDUALS LIKELY TO HAVE DISCOVERABLE
                INFORMATION RELEVANT TO DISPUTED FACTS ALLEGED WITH
                PARTICULARITY IN THE PLEADINGS

             1. Ghislaine Maxwell
                c/o Laura A. Menninger, Esq.
                Haddon, Morgan & Foreman, P.C.
                150 E. 10th Ave.
                Denver, CO 80203
                303-831-7364
                LMenninger@HMFLaw.com

                Ms. Maxwell is the Defendant and may have knowledge concerning matters at
                issue, including the events of 1999-2002 and the publication of statements in the
                press in 2011-2015.

             2. Virginia Lee Roberts Giuffre
                c/o Sigrid S. McCawley, Esq.
                Boies, Schiller & Flexner LLP
                401 East Las Olas Boulevard, Suite 1200
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                  has knowledge concerning matters at issue in the Complaint,
      including her own whereabouts and activities during the period 2000-2002.

   8. David Boies
      Boies, Schiller, Flexner LLP
      575 Lexington Ave.
      New York, NY 10022
      (212) 446-2300

      Mr. Boies has knowledge concerning matters at issue in the Complaint and in
      Plaintiff’s pleadings and sworn statements in other litigations, including in
      particular her publicly filed allegations concerning Defendant and Alan
      Dershowitz.

   9. Laura Boothe
      The Mar-a-Lago Club, LC.
      1100 South Ocean Boulevard,
      Palm Beach, FL 33480

      Ms. Boothe has knowledge concerning matters at issue, including the date that
      Sky Roberts began working at the Mar-a-Lago Club, and the human resources
      department at Mar-A-Lago.

   10. Evelyn Boulet
       Address unknown at this time
       Telephone number unknown at this time

      Ms. Boulet may have knowledge concerning Plaintiff’s false claims against
      Defendant.

   11. Rebecca Boylan
       Address unknown at this time
       Telephone number unknown at this time

      Ms. Boylan has knowledge concerning Plaintiff during the relevant time period
      including claims for damages, motive and bias.

   12. Joshua Bunner
       Address unknown at this time

      Joshua Bunner has knowledge concerning Plaintiff’s credibility, including false
      claims of sexual assault.

   13. Carolyn Casey
       Address unknown at this time
       Telephone number unknown at this time


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       Mr. Schoettle may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    63. Cecilia Stein
        Address unknown at this time
        Telephone number unknown at this time

       Ms. Stein may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    64. Mark Tafoya
        Address unknown at this time
        Telephone number unknown at this time

       Mr. Tafoya may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    65. Brent Tindall
        Address unknown at this time
        Telephone number unknown at this time

    66. Kevin Thompson
        Address unknown at this time

       Kevin Thompson has knowledge concerning Plaintiff’s credibility, including false
       claims of sexual assault.

    67. Ed Tuttle
        Address unknown at this time
        Telephone number unknown at this time

       Mr. Tuttle may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    68. Emma Vaghan
        Address unknown at this time
        Telephone number unknown at this time

       Ms. Vaghan may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    69. Kimberly Vaughan-Edwards
        Address unknown at this time
        Telephone number unknown at this time
        Believed to be in the UK



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       Ms. Vaughan-Edwards has knowledge concerning facts relevant to this dispute
       and Ms. Maxwell’s character.

    70. Cresenda Valdes
        Address unknown at this time
        Telephone number unknown at this time

       Ms. Valdes may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    71. Anthony Valladares
        Address unknown at this time
        Telephone number unknown at this time

       Mr. Valladares may have knowledge concerning matters at issue, including
       Plaintiff’s activities during 1996 – 2002.

    72. Maritza Vazquez
        Address unknown at this time
        Telephone number unknown at this time

       Ms. Vazquez may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    73. Vicky Ward
        Address unknown at this time
        Telephone number unknown at this time

       Ms. Ward may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    74. Jarred Weisfeld
        Address unknown at this time

       Mr. Weisfeld may have knowledge concerning matters at issue, including
       Plaintiff’s attempted publication of false allegations concerning Defendant and
       others.

    75. Courtney Wild
        Pinellas County Jail

       Ms. Wild may have knowledge concerning Plaintiff’s false claims against
       Defendant.

    76. Daniel Wilson
        Address unknown at this time


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          Telephone number unknown at this time

          Mr. Wilson may have knowledge concerning matters at issue, including Plaintiff’s
          activities during 1996 – 2002.

       77. Andrew Albert Christian Edwards, Duke of York
           Address unknown at this time
           Telephone number unknown at this time

          The Duke has knowledge concerning Plaintiff’s false statements to the press, in
          court pleadings, and in sworn testimony as well as the events of 1999-2002.

       78. Witnessed identified by Plaintiff in any of the various versions of her Rule 26
           disclosures.

       79. Witnesses whose identities and contact information can be identified in law
           enforcement reports disclosed herein.

       80. Any other witness learned through the discovery process.

       Defendant Ghislaine Maxwell reserves her right to supplement these disclosures as
       additional witnesses are learned through the discovery process, or endorsed by
       Plaintiff.

 II.      DOCUMENTS, DATA, COMPILATIONS AND TANGIBLE THINGS IN
          POSSESSION, CUSTODY OR CONTROL OF DEFENDANT THAT MAY
          BE USED TO SUPPORT DEFENDANT’S CLAIM OR DEFENSES

          1. Documents received from any other party through disclosures and/or in
             discovery, including any deposition exhibits, will not be identified or
             produced, though they technically may fall within this category “II”, and
             Defendant reserves the right to utilize such documents at any hearing or trial
             on this matter.

          2. News articles from the internet:

                  a. “Sordid friends and why he isn't fit for the job: Duke of York risks
                     losing ambassador role,” Daily Mail Online (Feb. 28, 2011).

                  b. “Prince Andrew and the 17-year-old girl his sex offender friend flew
                     to Britain to meet him,” Daily Mail Online (corrected Mar. 2, 2011).

                  c. “Unsavoury association: How Robert Maxwell's daughter 'procured
                     young girls' for Prince Andrew's billionaire friend,” Daily Mail Online
                     (Mar. 5, 2011).



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              d. “Virginia Roberts' account of the explosive Prince Andrew 'sex slave'
                 drama,” Daily Mail Online (Jan. 3, 2015).

              e. “Court papers put daughter of Robert Maxwell at centre of ‘sex slave’
                 scandal,” The Guardian (Jan. 4, 2015).

              f. “Prince Andrew denies sexual abuse allegations in unprecedented
                 Buckingham Palace statement: The Duke of York denies having
                 relations with alleged ‘sex slave,’” The Independent (Jan. 4, 2015).

              g. “Prince Andrew story runs and runs - but editors should beware,” The
                 Guardian (Jan. 5, 2015).

              h. “US lawyer sues in Prince Andrew sex claims case,” Time (Jan 6,
                 2015).

              i. “Harvard professor Alan Dershowitz denies charges of sex with
                 underage girl,” Boston Globe (Jan. 22, 2015).

              j.   “Virginia Roberts’s Aunt Reveals Jeffrey Epstein Girl Says I Am In
                   Fear for My Life,” Daily Mail Online, (Jan. 10, 2015).

              k. “EXCLUSIVE: Alleged ‘sex slave’ of Jeffrey Epstein, Prince Andrew
                 accused two men of rape in 1998, but was found not credible,” NY
                 Daily News (Feb. 23, 2015).

              l. “Jeffrey Epstein accuser was not a sex slave, but a money-hungry sex
                 kitten, her former friends say,” NY Daily News (Mar. 1, 2015).

              m. “Twat Claims She Was Underage Sex Slave Bedding Prince Andrew,”
                 http://www.mgtowhq.com/viewtopic.php?f=2&t=6676 (Jan. 5, 2015).

              n. “Exclusive: Prince Andrew at Heidi Klum’s ‘Hookers and Pimps’
                 party with the New York socialite accused of procuring underage girls
                 for his billionaire pedophile friend” Daily Mail Online (May 10,
                 2016).

       3. Email from Ross Gow to various news organizations, Subject: “Ghislaine
          Maxwell,” (Jan. 2, 2015).

       4. “Lawyers Acknowledge Mistake In Filing Sexual Misconduct Charges
          Against Professor Dershowitz,” Joint Statement of Brad Edwards, Paul
          Cassell and Alan Dershowitz (Apr. 8, 2016).

       5. Edwards and Cassell v. Dershowitz, In the Circuit Court of the Seventeenth
          Judicial District In and For Broward County Florida to include:


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              a. Deposition testimony of Paul G. Cassell, dated October 16, 2015 and
                 October 17, 2015.

       6. Jane Doe #1 and #2 v. United States, U.S. District Court for the Southern
          District of Florida, 08-cv-80736-KAM pleadings to include:

              a. Motion for Limited Appearance, Consent to Designation and Request
                 to Electronically Receive Notices of Electronic Filing (July 28, 2008)
                 (Doc. # 16)

              b. Notice of Change of Address and Firm Affiliation (Apr. 9, 2009) (Doc.
                 # 37)

              c. Order Denying Petitioners’ Motion to Join Under Rule 21 and Motion
                 to Amend Under Rule 15 (Apr. 7, 2015) (Doc. #324)

              d. Order Scheduling Settlement Conference Before the Magistrate Judge,
                 U.S. District Court (Mar. 31, 2016) (Doc. #378)

       7. Epstein v. Scott Rothstein and Bradley J. Edwards, In the Circuit Court of the
          Fifteenth Judicial Circuit in and for Palm Beach County, Florida, 09-ca-
          040800, pleadings to include:

              a. Complaint (Dec. 7, 2009).

       8. Law enforcement records obtained from the Palm Beach County (Florida)
          Sheriff’s Office, the Royal Palm Beach (Florida) Police Department, the
          County Court in and for Palm Beach County (Florida), the Greenacres
          (Florida) Department of Public Safety, and the Fremont County (Colorado)
          Sheriff’s Office.

       9. Employment records obtained from ET Employment Training and Recruiting
          Australia.

       10. Education records obtained from Royal Palm Beach Community High School
           and Forest Hills High School.

       11. Documents received from Palm Beach County Library System.

       12. Documents received from any other party through disclosures and/or in
           discovery, including any deposition exhibits, will not be identified or
           produced, though they technically may fall within this category “II”, and
           Defendant reserves the right to utilize such documents at any hearing or trial
           on this matter.




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             Defendant reserves the right to identify additional documents, data, compilations
             and tangible things as discovery continues and to supplement this list accordingly.


      III.   DESCRIPTION OF CATEGORIES OF DAMAGES SOUGHT AND
             COMPUTATION OF ECONOMIC DAMAGES CLAIMED BY THE
             DISCLOSING PARTY

             Not applicable at this time Ms. Maxwell reserves her right to supplement these
             disclosures as necessary.

      IV.    INSURANCE AGREEMENT UNDER WHICH ANY PERSON CARRYING
             ON AN INSURANCE BUSINESS MAY BE LIABLE TO SATISFY A PART
             OR ALL OF A JUDGMENT

             Ms. Maxwell’s AIG Homeowners and Excess Liability insurance policies.
             Coverage has been denied by AIG, as their letter of April 18, 2016 to Ms.
             Maxwell, copied to Ms. McCawley, attests.

Dated: June 17, 2016.
                                               Respectfully submitted,



                                               s/ Laura A. Menninger
                                               Laura A. Menninger
                                               Jeffrey S. Pagliuca
                                               HADDON, MORGAN AND FOREMAN, P.C.
                                               150 East 10th Avenue
                                               Denver, CO 80203
                                               Phone: 303.831.7364
                                               Fax:     303.832.2628
                                               lmenninger@hmflaw.com
                                               jpagliuca@hmflaw.com

                                               Attorneys for Ghislaine Maxwell




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                              CERTIFICATE OF SERVICE

       I certify that on June 17, 2016, I electronically served this DEFENDANT GHISLAINE
MAXWELL’S THIRD SUPPLEMENTAL F.R.C.P. 26(A)(1) DISCLOSURES via e-mail on the
following:

Sigrid S. McCawley                            Paul G. Cassell
Meredith Schultz                              383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200        cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                              J. Stanley Pottinger
Bradley J. Edwards                            49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,             South Salem, NY 10590
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brad@pathtojustice.com
                                              s/




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